                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:13-00121
                                               )          JUDGE CAMPBELL
EMILIA TIRADO-MEDINA                           )

                                           ORDER

        Pending before the Court is the Government’s Motion for Substitution Of Counsel

(Docket No. 44). The Motion is GRANTED.

        It is so ORDERED.



                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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